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                                Goldstein & Singla PLLC.,
                              A Working People’s Law Center

                                                                   April 3, 2024

  By ECF
  Hon. Taryn A. Merkl
  United States Magistrate Judge
  United States District Court for the Eastern District of NY
  225 Cadman Plaza East
  Brooklyn, New York 11201

                          Re: Sylla et al., v. Amazon Labor Union et
                          al. Civil Case No. 1:23- 05261 (AMD)
                          Attorney Removal


  Dear Honorable Magistrate Judge Merkl:

  I have previously filed a Notice of Appearance as an attorney for the Defendants, Amazon Labor
  Union and Christian Smalls in the above-captioned case. I am now seeking your permission to
  withdraw from that representation.

  I certify that I have provided notice of the withdrawal of the representation to the clients. I also
  certify that the circumstances support withdrawal, and that my withdrawal from the
  representation is consistent with the rules of conduct for the jurisdiction(s) in which I am
  admitted to practice, as I am no longer a member of the law firm.

  To be clear any necessary substitution in this matter will be made without change of law firm as
  Ms. Mirer will continue her representation of Defendant Amazon Labor Union and Christian
  Smalls. Thus Defendants will continue to be represented by another attorney from the same firm
  as the withdrawing attorney.

  Thank you for your consideration in this matter.



                                           Respectfully submitted,

                                                      /s/   Retu Singla

                                              Retu Singla




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